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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                               :
    In re                                                      :     Chapter 11
                                                               :
    IHEARTMEDIA, INC., et al.,1                                :     Case No. 18-31274 (MI)
                                                               :
                                Debtors.                             (Jointly Administered)
                                                               :
                                                               :

THE TERM LOAN/PGN GROUP’S EMERGENCY MOTION TO COMPEL LIONTREE
  ADVISORS LLC TO PRODUCE DOCUMENTS CONCERNING THE PENDING
                LIONTREE RETENTION APPLICATION

             The Term Loan/PGN Group2 submits this Motion to Compel, seeking production of

documents that are squarely relevant to the Debtors’ proposed retention of LionTree Advisors LLC

[ECF No. 569] (“LionTree”) (the “LionTree Application”) and the Term Loan/PGN Group’s

objections to the Application.

             This Motion addresses limited categories of documents that are directly germane to the

assertions in the LionTree Application and supporting declaration, yet LionTree refuses to produce

responsive documents. The documents at issue relate to the nature and extent of efforts (or lack

of efforts) that have been or are proposed to be provided by LionTree and are, thus, relevant to the

inquiry before the Court—the reasonableness of the terms and conditions proposed in the LionTree


                                                       
1
 Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
provided. A complete list of such information may be obtained on the website www.primeclerk.com/iheartmedia.
The location of Debtor iHeart Media, Inc.’s principal place of business and the Debtor’s service address is: 20880
Stone Oak Parkway, San Antonio, Texas 78258.
2
 The Term Loan/PGN Group consists of certain beneficial holders or investment advisors or managers for certain
beneficial holders of (a) term loans under that certain Credit Agreement dated May 13, 2008, as amended and restated
among iHeartCommunications, Inc. (the “Company”), Citibank, N.A. as Administrative Agent, Swing Line Lender
and L/C Issuer, and certain lenders that made term loans thereunder (the “Term Loans”) and (b) Priority Guarantee
Notes issued by the Company (the “PGNs”) as identified in the Verified Statement of Loewinsohn Flegle Deary Simon
LLP Pursuant to Bankruptcy Rule 2019 to be filed.
 


                                                           
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Application. Indeed, LionTree and the Debtors have put these efforts squarely before the Court in

the declaration supporting the LionTree Application when LionTree asserted:

             LionTree began working with the Debtors’ senior management and other
             stakeholders in the Fall of 2017 regarding a potential equity investment initially by
             Liberty Media Corporation and its affiliates and subsequently by another interested
             party …As such, the Debtors seek to retain LionTree … to maintain the momentum
             built with Liberty, the Interested Party, and any other potential Equity Transaction
             counterparties …

LionTree Application, Declaration of Ehren Stenzler, Ex. C ¶¶ 5-6.

             The Court should compel LionTree to produce the documents described below.

                                                          REASON FOR EMERGENCY

             The LionTree Application is set for hearing on May 30, 2018 at 10:30 a.m. Depositions of

witnesses the Debtors, including a representative of LionTree, intend to call to testify at the hearing

are scheduled to take place next week on May 22-24, 2018. Given the importance of the requested

documents, the limited nature of the requests, and upcoming deposition schedule, the Term

Loan/PGN Group requests that the Court set a hearing not later than 10:00 a.m. on Monday, May

21, 2018. In the alternative and if it is more convenient for the Court, the Term Loan/PGN Group

requests that the Court overrule LionTree’s objections and grant this Motion without a hearing.

See In re Texas Bumper Exch., Inc., 333 B.R. 135, 139 (Bankr. W.D. Tex. 2005) (holding that

Rule 37(a) does not require a court to hold a hearing before granting a motion to compel).3




                                                       
3
  “The rules do not require a hearing to be held in order for a court to pass on the legitimacy of objections to discovery.
A court could, if it so chose, rule on the moving papers alone with respect to a Rule 37(a) motion to compel. A party
seeking to resist discovery must make its best case for doing so in its objections to the discovery itself. If those
objections are not facially sustainable, then the court is permitted to overrule them, and to order compliance, as the
court did here. The defendant's objections to interrogatories, requests for production, and requests for admission were
not facially sustainable. If defendant here intended to present his first, best case for resisting discovery at a hearing on
a motion to compel, rather than clearly and facially in his responses to discovery, then movant failed to heed the clear
warnings in the rules themselves—the objections must be clear and specific, such that they are facially sustainable,
failing which they may be overruled, without further hearing.” Id. (internal citations omitted).



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                           FACTUAL BACKGROUND OF DISCOVERY REQUESTED

             The Term Loan/Group served its Request for Production of Documents to LionTree on

May 10, 2018 (“RFP”) (attached as “Exhibit A”). LionTree served responses to the RFP (attached

as “Exhibit B”), asserting numerous boilerplate objections, including eight general objections that

are incorporated into the response to every request.4

             The Term Loan/Group conducted a telephone conference with counsel for LionTree and

the Official Committee of Unsecured Creditors (“UCC”) on May 17, 2018. During the conference,

counsel for the Term Loan/PGN Group and UCC agreed to significantly narrow the documents

requested in RFP numbers 3-6. The parties also determined that LionTree had withheld and

refused to provide internal communications and documents (i.e., communications not sent to the

Debtors) in response to RFP numbers 7-10. Counsel for LionTree said it would consider the

request to produce internal communications.

             In an email the following day, counsel for LionTree said it was still considering the

narrowed RFP number 6 and would provide an answer by 6:00 p.m. May 18, 2018. Email from

Harrison Polans, May 18, 2018 at 11:57 a.m. (attached as “Exhibit C”). Counsel for LionTree has

since confirmed that it will stand on its objections and refuse to produce any responsive documents.

Email from Harrison Polans, May 18, 2018 at 4:54 p.m (attached as “Exhibit D”). With respect to

the internal communications requested in RFP numbers 7-10, counsel for LionTree confirmed that

it “stands on its objection that those documents are not relevant to the objections at hand.” Id.

Counsel for LionTree also confirmed that it would not produce documents with respect to RFP

numbers 3-5 because it “believes that these materials are wholly irrelevant to the retention

                                                       
4
  Boilerplate objections, especially when asserted as general objections at the beginning of a discovery response,
violate the letter and spirit of Rule 26. Heller v. City of Dallas, 303 F.R.D. 466, 483 (N.D. Tex. 2014). The Court
should deem these objections waived (with the exception of attorney-client privilege and work-product privilege) and
decline to consider them. See id.


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application and the objections at hand.” Id. The email stated that “LionTree also will not, as you

proposed, agree not to offer evidence or testimony about the services LionTree provided to the

Debtors date [sic] or in the future, including LionTree’s marketing efforts or services.” Id.

                                      BURDEN OF PROOF

       A party seeking discovery may move for an order compelling production of documents

that are within the scope of discovery. Fed. R. Civ. P. 37; TNA Australia Pty Ltd. v. PPM Techs.,

No. 3:17-CV-642-M, 2018 WL 2010277, at *8 (N.D. Tex. Apr. 30, 2018). The party resisting

discovery has the burden to specifically object to the requested discovery and show that the

discovery does not fall within Rule 26(b)(1)’s scope of relevance, fails the proportionality

calculation, or is otherwise objectionable. Id. at *11. If the resisting party claims that the request

is overbroad or unduly burdensome, it must present an affidavit or other evidentiary proof

“revealing the nature of the burden.” Id. “A party resisting discovery is swimming against a strong

upstream policy current. The policy underlying the discovery rules encourages more rather than

less discovery, and discourages obstructionist tactics.” Texas Bumper, 333 B.R. at 139-40.

                             ARGUMENTS AND AUTHORITIES

       To succeed on the LionTree Application, the Debtors bear the burden of proving that the

terms and conditions of their proposed section 328(a) retention of LionTree are reasonable. In re

Energy Partners, 409 B.R. 211, 226 (Bankr. S.D. Tex. 2009). In evaluating the reasonableness of

the retention, this Court should ultimately look to a number of factors, including,

       (1) Whether the terms of an engagement agreement reflect normal business terms
       in the marketplace … (3) Whether the retention, as proposed, is in the best interest
       of the estate … (5) Whether, given the size, circumstances and posture of the case,
       the amount of the retainer is itself reasonable, including whether the retainer
       provides the appropriate level of risk minimization, especially in light of the
       existence of other risk-minimizing devices, such as an administrative order and/or
       carve-out.




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Id. The requests detailed below seek information concerning these factors and are, thus, relevant

to the inquiry before the Court.

       The Term Loan/PGN Group has attempted to break the requests down into two

categories—one related to the scope of services LionTree provided and will allegedly provide and

the other related to internal communications that LionTree refuses to produce notwithstanding that

it agreed to produce communications with the Debtor on all of these same categories. The Term

Loan/PGN Group will address both of these categories by detailing the original requests, the

narrower request proposed during the discovery conference (if applicable), the objections made by

the LionTree, and the reasons the documents should be produced.

       A.      Scope of Services

 Original Request                  Narrowed Request                 Objections

 3. All documents and              Final or formal proposals,       1. Vague.
 Communications relating to        presentations, and analyses      2. Overbroad.
 the work to be performed or       that LionTree prepared for or    3. Unduly burdensome.
 services to be provided by        presented to the Debtors         4. Requests materials that
 LionTree to the Debtors,          Debtor’s management or              are not relevant to any
 including but not limited to      board of directors (including       party’s claims or
 any proposals, presentations,     all committees or                   defenses.
 or analyses provided to or        subcommittees thereof) in        5. Is not proportional to the
 received by the Debtors in        connection with the                 needs of the case.
 connection with the               negotiation of the               6. General objections.
 negotiation of the                Engagement Letter or any
 Engagement Letter or any          other retention letter between
 other retention letter between    the Debtors and LionTree.
 the Debtors and LionTree.




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    4. All documents and                                  Final or formal proposals,       1. Vague.
    Communications relating to                            presentations, and analyses      2. Overbroad.
    any marketing efforts or any                          that LionTree prepared for or    3. Unduly burdensome.
    other services previously or                          presented to the Debtors         4. Requests materials that
    currently provided by or                              Debtor’s management or              are not relevant to any
    planned to be provided by                             board of directors (including       party’s claims or
    LionTree relating to any                              all committees or                   defenses.
    potential Equity Transaction,                         subcommittees thereof)           5. Is not proportional to the
    as defined in the Application.                        relating to any marketing           needs of the case.
                                                          efforts or any other services    6. General objections.
                                                          previously or currently
                                                          provided by or planned to be
                                                          provided by LionTree relating
                                                          to any potential Equity
                                                          Transaction, as defined in the
                                                          Application.

    5. All Documents and                                  Final engagement letters,        1. Vague.
    Communications relating to                            contracts, or agreements         2. Overbroad.
    or concerning LionTree’s or                           between Liberty and its          3. Unduly burdensome.
    any of its affiliates’ prior or                       affiliates, on the one hand,     4. Requests materials that
    current business relationships                        and LionTree, on the other          are not relevant to any
    between [sic] with Liberty,                           hand, from 2015 to the              party’s claims or
    including but not limited to                          present.                            defenses.
    any engagement letters                                                                 5. Is not proportional to the
    between LionTree and any of                                                               needs of the case.
    its affiliates.                                                                        6. General objections.

    6. All Documents and                                  Final presentations, analyses,   1. Vague.
    Communications between                                proposals, or term sheets        2. Overbroad.
    any of the Debtors and                                relating to the Liberty          3. Unduly burdensome.
    LionTree relating to or                               Proposal that LionTree           4. Requests materials that
    concerning the Liberty                                prepared and presented to the       are not relevant to any
    Proposal.5                                            Debtors’ management or              party’s claims or
                                                          board (including all                defenses.
                                                          committees or subcommittees      5. Is not proportional to the
                                                          thereof) prior to the petition      needs of the case.
                                                          being filed.                     6. General objections.




                                                       
5
 The Liberty Proposal is defined in the LionTree Application as the proposal submitted by Liberty Media Corporation
(“Liberty”) in or around December 2017. LionTree Application ¶ 10. The Term Loan/PGN Group incorporated this
same definition by reference in its RFP and Supplemental RFP.


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       These requests, particularly as narrowed, are appropriately focused on the services that

have been and will allegedly be provided by LionTree. In particular, RFP number 6 relates to

materials presented to the Debtors concerning the Liberty Proposal. The Liberty Proposal is a

central focus of the LionTree Application. LionTree Application ¶ 10-11. For its part, LionTree

stands to earn a significant capital transaction fee under its engagement letter—on top of Moelis’

fee—if the Liberty Proposal or a similar equity offering closes. LionTree Application ¶ 16(a);

Moelis Application ¶ 16(c). If the Debtors or LionTree intend to present evidence, testimony, or

arguments at the hearing concerning LionTree’s prior efforts relating to any possible equity

transaction involving Liberty or another investor, the Term Loan/PGN Group is entitled to

documentary evidence of the services already provided and the work proposed to be done in that

regard. And yet, in a classic heads-I-win-tails-you-lose move, LionTree claims that it will not

produce the documents but that it nonetheless reserves the right to present evidence and testimony

on this topic at the hearing. Exhibit C. If LionTree insists on dodging reasonable discovery into

their pre- and post-Petition efforts, the Court should prevent them and the Debtors from

introducing testimony or documentary evidence on this issue at the hearing.

       As to LionTree’s other objections, the requests are focused on what should amount to only

a handful of final materials.    The Term Loan/PGN Group is not requesting all drafts or

communications regarding such materials—although that material would be relevant and

discoverable. The narrowed requests are, thus, reasonably limited and should place little burden

on LionTree. But even if there was some burden on LionTree to locate the material, such burden

is certainly not undue and is outweighed by the size of the fees sought by LionTree, which could

be over $17 million for the Liberty Proposal alone. Asking LionTree to produce limited documents

concerning the services it has provided and will allegedly provide is not too much to ask.




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      B.      Internal Communications

Request                                                            Objections

7. All Documents and Communications reflecting any                 1. Vague.
compensation, fees, or other consideration to be paid to           2. Overbroad.
LionTree for its work in connection with the Bankruptcy Cases      3. Unduly burdensome.
or any related proceeding, including but not limited to any        4. Requests materials that
proposals, presentations, or analyses provided to or received         are not relevant to any
by Debtors in conjunction with the negotiations of LionTree’s         party’s claims or
retention.                                                            defenses.
                                                                   5. Is not proportional to the
                                                                      needs of the case.
                                                                   6. General objections.

8. All Documents and Communications LionTree considered            1. Vague.
or relied on in assessing the Fee Structure and the terms of the   2. Overbroad.
Engagement Letter, including without limitation all                3. Unduly burdensome.
Documents and Information LionTree considered or relied            4. Requests materials that
upon in determining that the Fee Structure and the terms of the       are not relevant to any
Engagement Letter are fair, reasonable, and/or conform to             party’s claims or
market standards for such fees.                                       defenses.
                                                                   5. Is not proportional to the
                                                                      needs of the case.
                                                                   6. General objections.

9. All Documents and Communications reflecting any                 1. Vague.
analysis performed regarding the Fee Structure, including but      2. Overbroad.
not limited to any comparable engagement fees reviewed.            3. Unduly burdensome.
                                                                   4. Requests materials that
                                                                      are not relevant to any
                                                                      party’s claims or
                                                                      defenses.
                                                                   5. Is not proportional to the
                                                                      needs of the case.
                                                                   6. General objections.




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 10. All Documents and Communications relating to any              1. Vague.
 discussion or negotiation of the Fee Structure or the             2. Overbroad.
 Engagement Letter.                                                3. Unduly burdensome.
                                                                   4. Requests materials that
                                                                      are not relevant to any
                                                                      party’s claims or
                                                                      defenses.
                                                                   5. Is not proportional to the
                                                                      needs of the case.
                                                                   6. General objections.


       The requests go to the reasonableness of the fee structure proposed by the Debtors and

LionTree—which is central issue the Court will determine with respect to the LionTree

Application. Notably, LionTree has agreed to produce, and thereby acknowledges the relevance

of, these documents and communications for each of these categories to the extent such

communications were with or documents were shared with the Debtors. But, for some reason, it

does not believe that its own internal analysis of its fee structure is relevant. Nothing could be

further from the truth. If, for instance, LionTree has internal comparable transactions that it

considered but did not present to the Debtors, the Term Loan/PGN Group has a right to discover

those and present them at the hearing. Moreover, these requests are proportional to the needs of

the case and are not overbroad or unduly burdensome. In any event, LionTree bears the burden

on these issues. The Court should compel LionTree to produce all internal communications

pertaining to these four requests.

                                     RELIEF REQUESTED

       The Term Loan/PGN Group respectfully requests that Court compel LionTree to produce

the documents requested in this Motion by no later than May 21, 2018 at 5:00 p.m. or at some

other reasonable time as the Court determines in light of the expedited schedule.




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    Dated: May 18, 2018                 Respectfully submitted,

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                                        CONFLICTS COUNSEL FOR THE TERM
                                        LOAN/PGN GROUP
 




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                              CERTIFICATE OF CONFERENCE

      I certify that on May 17, 2018, I conferred with Israel David, counsel for LionTree, and
was unable to reach an agreement on the requested relief. My efforts to confer are detailed in the
Motion above.
                                             /s/ Tyler M. Simpson
                                             Craig F. Simon




                                 CERTIFICATE OF SERVICE

        I certify that on May 18, 2018, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.
                                             /s/ Tyler M. Simpson
                                             Tyler M. Simpson

 




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